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                                                                                                              BOND

                                        U.S. District Court
                            Western District of Pennsylvania (Pittsburgh)
                       CRIMINAL DOCKET FOR CASE #: 2:24-mj-00672-PLD-1
                                         Internal Use Only


Case title: USA v. RODRIGUEZ                                         Date Filed: 04/24/2024

Other court case number: 24-cr-82 Southern District of New York


Assigned to: Magistrate Judge Patricia L.
Dodge

Defendant (1)
KEONNE RODRIGUEZ

Pending Counts                                 Disposition
CIVIL FORFEITURE
(1s)

Highest Offense Level (Opening)
Felony

Terminated Counts                              Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                     Disposition
None



Plaintiff
USA                                                    represented by Jonathan David Lusty
                                                                      United States Attorney's Office (PGH)
                                                                      PAW
                                                                      700 Grant Street
                                                                      Suite 4000
                                                                      Pittsburgh, PA 15219
                                                                      412-894-7367
                                                                      Email: Jonathan.Lusty@usdoj.gov
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED
                                                                      Designation: US Govt Atty

Date Filed        #    Docket Text
             Case 1:24-cr-00082-RMB         Document 13        Filed 05/03/24       Page 9 of 9
04/24/2024    1 SUPERSEDING INDICTMENT as to KEONNE RODRIGUEZ (1) count(s) 1s. (mqe) (Entered:
                04/24/2024)
04/24/2024    2 ORDER as to KEONNE RODRIGUEZ: Initial Appearance set for 4/24/2024 at 02:30 PM in
                Courtroom 9A before Magistrate Judge Patricia L. Dodge. Signed by Magistrate Judge Patricia L.
                Dodge on 4/24/2024. Text-only entry; no PDF document will issue. This text-only entry
                constitutes the Order of the Court or Notice on the matter. (mqe) (Entered: 04/24/2024)
04/24/2024    3 ORDER as to KEONNE RODRIGUEZ: Initial Appearance rescheduled for 4/24/2024 at 03:30
                PM in Courtroom 9A before Magistrate Judge Patricia L. Dodge. Please note that this is only a
                change in time for the proceeding. Signed by Magistrate Judge Patricia L. Dodge on 4/24/2024.
                Text-only entry; no PDF document will issue. This text-only entry constitutes the Order of the
                Court or Notice on the matter. (mqe) (Entered: 04/24/2024)
04/24/2024    4 Minute Entry for proceedings held before Magistrate Judge Patricia L. Dodge: Initial Appearance
                as to KEONNE RODRIGUEZ held on 4/24/2024 (Court Reporter: none) (mqe) (Entered:
                04/24/2024)
04/24/2024    5 Order Pursuant to the Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21,
                2020) (amending Fed. R. Crim. Pro. 5) as to KEONNE RODRIGUEZ. Signed by Magistrate
                Judge Patricia L. Dodge on 4/24/2024. (mqe) (Entered: 04/24/2024)
04/24/2024    6 WAIVER of Rule 5(c)(3) Hearing by KEONNE RODRIGUEZ. Defendant waived right to
                Identity Hearing. (mqe) (Entered: 04/24/2024)
04/24/2024    7 Unsecured Appearance Bond Entered as to KEONNE RODRIGUEZ in amount of $25,000. (mqe)
                (Entered: 04/24/2024)
04/24/2024    8 ORDER Setting Conditions of Release. Signed by Magistrate Judge Patricia L. Dodge on
                4/24/2024. (mqe) (Entered: 04/24/2024)
